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                       UNITED STATES DISTRICT COURT
                          DISTRICT OF SOUTH DAKOTA
                              CENTRAL DIVISION



  UNITED STATES OF AMERICA,                 CR ;i(-3oo^/
             Plaintiff,                     REDACTED INDICTMENT


       V.                                   POSSESSION OF A FIREARM BY A
                                            PROHIBITED PERSON
  MICHAEL LEWIS and
  ANGELA EIDE,                              18 U.S.C. §§ 2, 922(g)(3), 924(a)(2),
                                            and 924(d), and 28 U.S.C. § 2461(c)
             Defendants.



     The Grand Jury charges:

      On or about the 15th day of September, 2020, in the District of South

Dakota, the defendants,

                                MICHAEL LEWIS and
                                   ANGELA EIDE,

then being unlawful users of a controlled substance, and knowing each was an

unlawful user of a controlled substance, did knowingly and intentionally

possess firearms:

            a.      a Howa Machinery Limited model 1500,.308 Winchester
                    caliber rifle, bearing serial number B362250;

            b.      a Marlin Firearms Company, model 336SC, .35 Remington
                    caliber rifle, bearing serial number K2666;

            c.      a Savage Arms Incorporated, model MSR-15, semi-automatic
                    rifle, bearing serial number 03-013317;

            d.      a Remington Arms Company Incorporated, model 721, .270
                    Winchester caliber rifle, bearing serial number 203621;
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            e.     a Remington Arms Company Incorporated, model 510 "The
                   Target Master",.22 caliber rifle, bearing no serial number; and

            f.     a Meriden Firearms Company, "The Berkshire" 12 gauge
                   shotgun, bearing serial number 53810.

which all had been shipped and transported in interstate commerce and foreign

commerce, and did aid and abet one another, in violation of 18 U.S.C. §§ 2,

922(g)(3), 924(a)(2), and 924(d).

                      ASSET FORFEITURE ALLEGATION


      1.    The allegations contained in the Indictment are hereby realleged and

incorporated by reference for the purpose of alleging forfeitures pursuant to 18

U.S.C. § 924(d) and 28 U.S.C. § 2461(c).

      2.    Upon conviction of the offense in violation of 18 U.S.C. §§ 922(g)(3)

and 924(a)(2) set forth in this Indictment, the defendants, Michael Lewis and

Angela Eide, shall forfeit to the United States, pursuant to 18 U.S.C. § 924(d),

and 28 U.S.C. § 2461(c), any firearm involved in the commission of the offense,

including, but not limited to;

            a.     a Howa Machinery Limited model 1500,.308 Winchester
                   caliber rifle, bearing serial number B362250;

            b.     a Marlin Firearms Company, model 336SC, .35 Remington
                   caliber rifle, bearing serial number K2666;

            c.     a Savage Arms Incorporated, model MSR-15, semi-automatic
                   rifle, bearing serial number 03-013317;

            d.     a Remington Arms Company Incorporated, model 721, .270
                   Winchester caliber rifle, bearing serial number 203621;

            e.     a Remington Arms Company Incorporated, model 510 "The
                   Target Master", .22 caliber rifle, bearing no serial number;
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           f.    a Meriden Firearms Company, "The Berkshire" 12 gauge
                 shotgun, bearing serial number 53810; and

           g.    all ammunition seized on September 15, 2020.

                                        A TRUE BILL:




                                             NAME REDACTED
                                        Foreperson

DENNIS R. HOLMES
Acting United States Attorney



By:
